      1:20-cv-02788-JMC         Date Filed 11/15/21      Entry Number 25        Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                    AIKEN DIVISION

                                               )
Paul Morphy                                    )            № 1:20-cv-02788-JMC-SVH
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )     Motion to Strike Answer of Defendant
                                               )   South Carolina Department of Corrections
Willie Davis, individually and/or in his       )
official capacity as warden at Trenton         )
Correctional Institution; Gary Lane,           )
individually and/or in his official capacity   )
as warden at Kershaw Correctional              )
Institution; John Does 1-9, individually       )
and/or in their official capacities as         )
employees of the South Carolina                )
Department of Corrections; and the South       )
Carolina Department of Corrections;            )
                                               )
       Defendants.                             )
                                               )
                                               )

       Plaintiff, pursuant Fed. R. Civ. P. 41(b), 37(d)(1)(A)(i) & 37(d)(3), moves1 to strike the

answer of Defendant South Carolina Department of Corrections for failing to appear at its

October 29, 2021, deposition. Plaintiff would show the following in support of his motion:

                                       Nature of the Case

       This is a civil rights and Tort Claims act action alleging the individual Defendants

(former wardens) and the South Carolina Department of Corrections failed to keep Plaintiff safe

from other inmates, leading to his April 21, 2017 assault. Plaintiff further alleges Defendants




1
  Pursuant to LCR 7.04, a supporting memorandum is not necessary. Pursuant to LCR 7.02, the
undersigned certifies consultation would serve no useful purpose and/or is not necessary (i.e. it is
a dispositive motion).
      1:20-cv-02788-JMC          Date Filed 11/15/21       Entry Number 25     Page 2 of 5




failed to provide him adequate medical care both immediately after his assault and in the

subsequent years.

                                       Relevant Background

       Defendant SCDC was served with Plaintiff’s first interrogatories and first requests to

produce on August 27, 2020. (ECF Entry 13). SCDC did not timely respond to these requests,

and after repeated assurances and meet-and-confer emails (Ex. B pp. 1-4; ECF Entry 13 p. 1),

SCDC served incomplete responses to these requests on January 12, 2021. (Ex. A pp. 1-9, 12-

25). Plaintiff served a second set of requests to produce (one request for post orders) on January

31, 2021. (Ex. C). After roughly half a year of assurances and meet-and-confer emails (Ex. B pp.

5-15), SCDC served incomplete supplemental responses on August 21, 2021. (Ex. A p. 10-11,

26-29). After an additional fruitless meet-and-confer and scheduling email (Ex. B pp. 16),

Plaintiff noticed the depositions of the Defendants (Ex. B pp. 17-25), in order to obtain their

testimony before the discovery deadline of October 29, 2021 from the Second Amended and

Final Scheduling Order (ECF Entry 20). Defendants’ counsel contacted Plaintiff’s counsel and

informed him that the Defendants would not be attending their depositions; Defendants Davis

and Lane made themselves available for deposition outside of the scheduling order’s deadline.

(Ex. B p. 29). SCDC’s deposition was never taken, and SCDC never provided a response to

Plaintiff’s second requests to produce.

                                             Argument

       Rule 37 provides for sanctions against a party if it fails to appear at its own deposition.

Fed. R. Civ. P. 37(d)(1)(A)(i). Any of the potential sanctions of Rule 37(b)(2)(A), plus attorney’s

fees and costs, are available. Fed. R. Civ. P. 37(d)(3). Striking of pleadings (i.e. SCDC’s answer)

is one of the potential sanctions. Fed. R. Civ. P. 37(b)(2)(A)(iii).
       1:20-cv-02788-JMC        Date Filed 11/15/21       Entry Number 25      Page 3 of 5




        Striking an answer (which is functionally the same as dismissing an action) is a harsh

sanction, and this Court must consider four criteria in ordering it:

        (1) whether the noncomplying party acted in bad faith; (2) the amount of
        prejudice his noncompliance caused his adversary, which necessarily includes an
        inquiry into the materiality of the evidence he failed to produce; (3) the need for
        deterrence of the particular sort of noncompliance; and (4) the effectiveness of
        less drastic sanctions.

Mut. Fed. Sav. & Loan Ass’n, 872 F.2d at 92. The facts support the Plaintiff in each of these

criteria:

                        Whether the noncomplying party acted in bad faith

        SCDC engaged in a pattern of delay in responding to Plaintiff’s discovery requests. Any

time Plaintiff suggested a motion to compel or a discovery conference call was appropriate,

SCDC would provide Plaintiff with enough documents to effectively “reset” the discovery clock,

but never enough to fully respond. (Ex. B). The effect of this “slow drip” of information was to

delay the depositions of the Defendants, which Plaintiff would not notice without the documents

he would need to introduce as exhibits. (Ex. B pp. 10, 11, 16; ECF Entry 13 p. 2). When Plaintiff

finally noticed SCDC’s deposition on October 19, 2021, SCDC refused to appear, allowing the

discovery deadline (October 29) to expire. Unlike the individual Defendants, SCDC did not

make itself available for deposition after the discovery deadline, leaving Plaintiff with no

recourse to compel it. (Ex. B p. 29).

                                  Amount of prejudice to Plaintiff

        SCDC’s notice of deposition was designed to obtain the information SCDC refused to

provide in its written discovery responses. For example, it requested information on the April 21,

2017 assault of the Plaintiff; SCDC protective custody procedures; SCDC intake and

classification procedures; Plaintiff’s medical treatment, or lack thereof, by SCDC; photographs
      1:20-cv-02788-JMC         Date Filed 11/15/21      Entry Number 25       Page 4 of 5




taken of Plaintiff after his assault; the post orders in effect when Plaintiff was assaulted; and

other relevant materials. (Ex. B pp. 18-21). SCDC never provided written discovery addressing

these topics, so they were to be addressed during SCDC’s deposition. Plaintiff also sought

testimony regarding documents SCDC did provide, such as the incident reports & MINs from

Plaintiff’s assault (0518, 0739-0743, 0755-0757, 0766), Plaintiff’s cell/job assignments on the

day he was transferred (0519, 0520), Plaintiff’s bed history (0994-0995), Plaintiff’s medical

grievances (0747-0752), Plaintiff’s request for protective custody (0521-0527), critical medical

records rendered illegible (0171-0172), records of Plaintiff’s medication after assault (0062), and

disciplinary records for the individual Defendants (1005-1007, 1012-1013, 1087-1088, 1093-

1095, 1472-1478, 1526). (Ex. B pp. 20-21).

        Without deposition testimony to fill the gaps2 of SCDC’s deficient discovery responses,

Plaintiff cannot finish building his case and cannot prepare for trial. See Ashmore v. Allied

Energy, Inc., No. 8:14-CV-00227-JMC-2, 2015 WL 12837648, at *1 (D.S.C. Dec. 9, 2015)

(stating that Rule 26(b) “is designed to provide a party with information reasonably necessary to

afford a fair opportunity to develop its case.”). The lack of post orders, and any information

about them, is particularly important, as they establish the duties and responsibilities of SCDC

employees assigned to authorized security posts (Ex. D p. 5 #17), which is highly relevant to all

causes of action. Plaintiff’s lack of protective custody at Trenton Correctional Institution

provided Plaintiff’s assailants the opportunity to attack him. Defendant Davis’s absence from

TCI, caused by his disciplinary suspension from SCDC (bates 1012-1013), occurred during

Plaintiff’s transfer to TCI.

2
  Though the individual Defendants graciously made themselves available for deposition after
the discovery deadline, their depositions could not fill the gaps in SCDC’s responses, as they
engaged in “bandying”. See Alexander v. F.B.I., 186 F.R.D. 148, 151-52 (D.D.C. 1999) (Rule
30(b)(6) created to prevent “bandying”).
        1:20-cv-02788-JMC          Date Filed 11/15/21    Entry Number 25         Page 5 of 5




                                       The need for deterrence

         SCDC’s discovery conduct is frequently the subject of litigation in this District. For

example, plaintiffs have sought to sanction SCDC for discovery misconduct in Wilson v.

Eagleton, 1:18-cv-00050-RMG-MGB (Motion for Sanctions filed December 30, 2019)3 and

Bartlette v. SCDC, 2:17-cv-3031-RMG-MGB (Motion for Sanctions filed December 2, 2019).4

Judge Gergel of this District has likewise expressed his displeasure at SCDC’s discovery tactics

in a hearing in Wilson. (Ex. E).

                             The effectiveness of less drastic sanctions

         No lesser sanction is appropriate. As set forth above, Plaintiff cannot finish building his

case and cannot prepare for trial against SCDC. SCDC’s past behavior in this case, and others,

leaves Plaintiff with no faith it would fully comply with a court order compelling its attendance

at a deposition. Other sanctions would effectively direct the trier of fact to find for the Plaintiff,

and would thus be tantamount to striking SCDC’s answer.

                                            Conclusion

         The motion should be granted.



Dated: 11/15/2021                                     /s/ Jason Scott Luck
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3
    Available at: https://ecf.scd.uscourts.gov/doc1/163011076213
4
    Available at: https://ecf.scd.uscourts.gov/doc1/163011027555
